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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION



 LANCE BROWNING, Individually and On
 Behalf of All Others Similarly Situated,

                           Plaintiff,             Case No.: 1:18-cv-00763

        v.

 THE OHIO NATIONAL LIFE INSURANCE
 COMPANY,                                         CLASS ACTION COMPLAINT

 Defendant,
                                                  JURY TRIAL DEMANDED
 And

 OHIO NATIONAL LIFE ASSURANCE
 COMPANY,

 Defendant,

 And

 OHIO NATIONAL EQUITIES, INC.,

                           Defendant.


       Ohio National is unlawfully trying to change the rules after the game has already started.
Ohio National has issued billions of dollars’ worth of variable annuity policies with guaranteed

income benefit riders. The issuance of these policies involves four parties – Ohio National (the

issuer), a broker-dealer (which has a “selling agreement” with Ohio National permitting it to sell

the policies), a securities representative (who advises the customer about the policy), and a

customer (who purchases the policy). Ohio National has induced the sale of its policies by

promising annual, recurring commissions to the broker-dealers and, by extension, the securities

representatives, and customers have purchased these policies believing that they will be able to

rely on their trusted securities representatives to advise them on how to manage the investments in

the policy and whether or when to annuitize or surrender the policy. Having induced the sales of



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these policies based on these promises, Ohio National has announced that it does not intend to hold

up its end of the bargain – it is refusing to pay the promised recurring commissions, and thereby

effectively cutting off customers from receiving financial advice about these policies from their

trusted financial advisors. Ohio National is not allowed to do that.

       Plaintiff Lance Browning (“Plaintiff”) therefore brings this Class Action Complaint, based

upon his personal knowledge, on information and belief, and on the investigation of his counsel,

on behalf of himself and the proposed class defined herein, and by and through the undersigned

counsel, and alleges as follows:

I.     INTRODUCTION

       1.      Plaintiff is one of thousands of licensed securities representatives who have sold

variable annuities to customers nationwide that feature a guaranteed minimum income benefit

(GMIB) rider, offered by The Ohio National Life Insurance Company and its subsidiaries Ohio

National Life Assurance Company and Ohio National Equities, Inc. (collectively, “Ohio

National” or “Defendant”).

       2.      Pursuant to the Selling Agreements entered into by Ohio National and numerous

broker-dealers, the broker-dealers and their affiliated securities representatives marketed and

sold the Ohio National GMIB Variable Annuities (the “Annuities”) to customers, with all

customer premiums from those sales being paid directly to Ohio National. In return for

promoting, selling, and servicing the Annuities, the broker-dealers and their affiliated securities

representatives receive commissions, including “trailing commissions” that are paid to the

broker-dealer and affiliated registered representatives on a yearly basis until and unless the

Annuities were surrendered or annuitized.

       3.      On September 28, 2018, Ohio National announced that it was terminating the

Selling Agreements with all broker-dealers with regard to the Annuities. As part of that

termination, it also announced that it would no longer pay trailing commissions stemming from

Annuities that were already in existence.




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        4.       While Ohio National has the right to discontinue future sales of the Annuities, it

may not unilaterally terminate its obligation to pay trailing commissions on existing Annuities.

        5.       Perhaps even worse, Ohio National’s decision to stop paying trailing commissions

for which it is already obligated will not even reduce the expenses for investors. The costs of the

Annuities will not go down one penny. Rather, instead of paying trailing commissions to the

broker-dealers and their securities representatives, Ohio National has decided to simply pocket

that money itself instead. And incredibly, Ohio National has not even implemented this unfair

and improper policy evenly across the board as to all broker-dealers: it is continuing to pay

trailing commissions to its own captive broker-dealer, Ohio National Equities, Inc. Furthermore,

Ohio National is continuing to pay trailing commissions to broker-dealer Morgan Stanley Smith

Barney LLC (“Morgan Stanley”) and its securities representatives.

        6.       Plaintiff and the class also seek an injunction to prevent Ohio National from

terminating its obligations to Plaintiff and the class, as well as declaratory relief resolving Ohio

National’s future obligations pursuant to the Selling Agreements.

II.     JURISDICTION AND VENUE

        7.       This Court has subject matter jurisdiction of Plaintiff’s Declaratory Relief claim

pursuant to 28 U.S.C. § 1331. This Court also has subject matter jurisdiction over Plaintiff’s

state law claims pursuant to 28 U.S.C. § 1367. This Court has personal jurisdiction over Ohio

National because its principal place of business is in the State of Ohio, and because at all relevant

times it has conducted substantial business operations within this District and throughout the

state of Ohio.

        8.       Venue is proper in this District under 28 U.S.C. § 1391 because Ohio National

has its principal place of business in this District, and does substantial business within this

District.

        9.       The Selling Agreements elect Ohio law to govern all disputes arising from the

agreement. As third-party beneficiaries to the contract, Plaintiff and all class members, as well

as Defendant, are bound by the Selling Agreements, and thus Ohio law applies to this case. In



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the alternative, Ohio courts apply the Restatement (Second) of Conflicts of Laws, which calls for

the law of the state having “the most compelling interest” in having its law apply to the dispute

should govern. As the Defendant is an Ohio corporation with its headquarters in this state,

distributing insurance products throughout the country, Ohio has the “most compelling interest”

in the adjudication of the status of the relationship between Defendant and its counter-parties,

and thus Ohio law applies to the entire dispute.

III.    PARTIES

        10.    Plaintiff Lance Browning is a resident of Whitehouse, Texas.

        11.    Defendant The Ohio National Life Insurance Company is an Ohio corporation

with its principal place of business at One Financial Way, Cincinnati, Ohio 45242.

        12.    Defendant Ohio National Life Assurance Company is an Ohio Corporation with

its principal place of business at One Financial Way, Cincinnati, Ohio 45242. Ohio National

Life Assurance Company is a subsidiary of The Ohio National Life Insurance Company.

        13.    Defendant Ohio National Equities, Inc., is an Ohio corporation with Ohio

Corporation with its principal place of business at 237 William Howard Taft Road, Cincinnati,

Ohio 45219. Ohio National Life Assurance Company is a subsidiary of The Ohio National Life

Insurance Company.

IV.     FACTUAL BACKGROUND

        A.     The Ohio National Variable Annuity with a Guaranteed Minimum Income
               Benefit Rider
        14.    A variable annuity is a contract sold by an insurance company under which the

owner pays a lump sum premium to an insurance company, the insurance company purchases a

portfolio of securities with those funds, and the owner then receives future payments based on

the performance of the contract’s underlying securities. The performance of these securities,

usually mutual funds, dictates the size of the annuity payment.




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        15.     In a “guaranteed minimum income benefit,” or “GMIB” annuity, the annuity

contract entitles the owner to receive a certain minimum level of payment monthly on the

annuity, regardless of market conditions or other factors.

        16.     Ohio National sold GMIB Variable Annuities through multiple channels,

including its own captive broker-dealer and its securities representatives, as well as through

many other broker-dealers and their affiliated securities representatives throughout the country.

        17.     To facilitate those sales, Ohio National entered into Selling Agreements with

broker-dealers (collectively, “Selling Agreement” or the “Agreement”). Plaintiff’s counsel have

reviewed multiple versions of the Selling Agreement entered into between Ohio National and

broker-dealers.

        18.     The Selling Agreement contemplated that broker-dealers would cause securities

representatives to perform the selling and servicing of the Annuities, as set forth in the “whereas”

clause which states that Ohio National “propose[s] to have [broker-dealer’s] registered

representatives (“Representatives”) who are, or will become, duly licensed insurance agents,

solicit the sales of the Contracts. . . .”

        19.     Moreover, the Selling Agreement requires the broker-dealer to warrant that its

securities representatives meet certain guidelines, including licensing requirements. The Selling

Agreement obligates the broker-dealer to direct and supervise the work of the securities

representatives.

        20.     The Selling Agreement states that commissions for the sale of these annuities

shall be paid to the broker-dealer based on the Commission Schedule “in effect at the time that

the Contract Payments are received” by Ohio National. (Emphasis added.)

        21.     Said another way, Ohio National is obligated, pursuant to the Selling Agreement,

to pay commissions for a particular Annuity as are set forth in the applicable Commission

Schedule in effect at the time the annuity is sold and Ohio National receives the customer’s lump

sum payment.




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       22.     The Selling Agreement also expressly contemplates that those commissions paid

to the broker-dealer pursuant to sales of Annuities would be passed on, at least in part, to the

securities representatives themselves, as the Selling Agreement states “[c]ompensation to the

broker-dealers Representatives for Annuities solicited by the Representative and issued by ONL

will be governed by an agreement between [broker-dealer] and its Representatives, and its

payment will be the [broker-dealer’s] responsibility.”

       23.     Finally, the Selling Agreement states that the terms of compensation shall survive

the agreement unless the agreement is terminated for cause by Ohio National, and so long as the

broker-dealer remains in good standing with appropriate regulatory agencies and is the broker-

dealer of record for the account.

       24.     Ohio National has made no attempt, nor could it, to assert that its cancellation of

the Selling Agreement is for cause.

       B.      Securities Representatives are Intended Beneficiaries of the Selling
               Agreement

       25.     While securities representatives such as Plaintiff and class members are not

named parties to the Selling Agreement, the Selling Agreement makes clear that they are

intended beneficiaries of the contract.

       26.     Ohio law incorporates Section 302 of the Second Restatement of Contracts with

regard to intended beneficiaries under a contract.

       27.     Under the Restatement, “[u]nless otherwise agreed between promisor and

promisee, a beneficiary of a promise is an intended beneficiary if recognition of a right to

performance in the beneficiary is appropriate to effectuate the intention of the parties and either:

(a) the performance of the promise will satisfy an obligation of the promisee to pay money to the

beneficiary; or (b) the circumstances indicate that the promisee intends to give the beneficiary

the benefit of the promised performance.”

       28.     In Ohio, if the promisee intends that a third party should benefit from the contract,

then that third party is an intended beneficiary who has enforceable rights under the contract.



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       29.     The Selling Agreement explicitly contemplates that broker-dealers will delegate

the marketing and sale of Annuities to their employees or other third-parties who will act as

“Representatives” as set forth in the Selling Agreement. Commissions paid by Ohio National to

the broker-dealers will pass through to these securities representatives according to a separate

agreement between the broker-dealer and the securities representative.

       30.     The Selling Agreement manifests an intention that securities representatives such

as Plaintiff and Class members will benefit from the Selling Agreement, in the form of pass-

through commissions, including trailing commissions. For this reason, Plaintiff and Class

Members are third-party beneficiaries under the contract.

       C.      Ohio National Announces that It Will Terminate Trailing Commissions

       31.     On September 28, 2018, Ohio National sent a letter to many or all of the broker-

dealers with which it had a Selling Agreement, informing them that it was cancelling those

agreements, effective December 12, 2018.

       32.     As part of that letter, Ohio National also informed the broker-dealers it would no

longer be paying trailing commissions, even on existing, valid Annuities.

       33.     Ohio National provided no justification for this move. Moreover, Ohio National

intends to continue to pay trailing commissions to its own captive broker-dealer’s securities

representatives with regard to the Annuities, as well as to the securities representatives who are

with Morgan Stanley.

       34.     Pursuant to the terms of the Selling Agreement, Ohio National is obligated to pay

trailing commissions to broker-dealers for all existing Annuities that are not surrendered or

annuitized. While Ohio National may terminate the Selling Agreement, and thus end the ability

of broker-dealers and securities representatives to promote and sell new Annuities going

forward, it may not unilaterally declare that it will not pay trailing commissions on annuities that

have already been sold and continue to be in force and are being serviced by securities

representatives.




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       35.     By announcing that it will cease paying trailing commissions as of December 12,

2018, Ohio National has breached the Selling Agreement as to existing Annuities that have not

been surrendered or annuitized.

       D.      Facts Relating to the Named Plaintiff

       36.     Plaintiff Lance Browning is a securities representative with LPL Financial LLC

(“LPL”). Plaintiff has been with LPL since August 2012. Plaintiff was with Morgan Keegan

from February 2005 until August 2012. Before that, Plaintiff was with UBS/PaineWebber from

September 1997 until February 2005. LPL, Morgan Keegan, and UBS are all parties to a Selling

Agreement with Ohio National. Plaintiff is entitled to trailing commissions pursuant to each of

those Selling Agreement.

       37.     Plaintiff has sold over 100 Annuities that have currently not been surrendered,

annuitized, or under a death claim. The trailing commissions he has received as a result of those

annuities has been a significant part of his business, having earned and received approximately

$89,000 in trailing commissions per year for many years. Based on his calculation, he is entitled

to that same amount – approximately $89,000 – in trailing commissions in 2019 alone, from

those Annuities already existing and in place.

       38.     Pursuant to Ohio National’s announced policy, Plaintiff will not receive any

trailing commissions after December 12, 2018, even if he continues to provide advice and

recommendations to his customers who own Annuities. As such, he is damaged as a result of

Ohio National’s breach of the Selling Agreement.

V.     CLASS ACTION ALLEGATIONS

       39.     Plaintiff brings this suit as class action pursuant to Rule 23 of the Federal Rules of

Civil Procedure on behalf of himself and all members of the following Class:

               All persons who: (1) acted as securities representatives pursuant to
               a Selling Agreement between a broker-dealer and Ohio National;
               and (2) solicited the sale of an Ohio National guaranteed minimum
               income benefit Variable Annuity that is currently an active
               contract.




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       40.     Excluded from the Class are: (1) any Judge or Magistrate Judge presiding over

this action and members of their families; (2) Ohio National, its subsidiaries, parents, successors,

predecessors, and any entity in which Ohio National has a controlling interest, and its current or

former employees, registered and/or securities representatives, officers, and directors; (3)

Morgan Stanley, its affiliates and any of its affiliated securities representatives; (4) counsel for

Plaintiff and Ohio National (and employees of their firms); and (5) legal representatives,

successors, or assigns of any such excluded persons.

       41.     The Class meets all of the criteria required by Federal Civil Rule 23(a).

       42.     The Class Members are so numerous that joinder of all Members is impracticable.

The exact number and identities of Class Members are unknown at this time, but are likely in the

thousands. The identities of Class Members are ascertainable through Ohio National’s records

and/or Class Members’ records, and other means.

       43.     Common questions of law and fact exist as to all Class Members. These common

questions of law or fact predominate over any questions affecting only individual Members of

the Class. Common questions include, but are not limited to, the following:

               a.      Whether Ohio National breached the Selling Agreement with broker-

dealers by announcing that it would no longer pay trailing commissions;

               b.      Whether Plaintiff and Class Members are third-party beneficiaries of the

Selling Agreement;

               c.      Whether Ohio National has been or will be unjustly enriched as a result of

its decision not to pay trailing commissions as set forth in the Selling Agreement and the

corresponding Schedule of Commissions;

               d.      Whether Ohio National tortuously interfered with the business relationship

between Plaintiff and Class Members and their broker-dealers;

               e.      Whether Ohio National is liable to Plaintiff and Class Members under a

claim of promissory estoppel;




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               f.      Whether Plaintiff and Class Members are entitled to restitution, damages,

compensation, or other monetary relief; and

               g.      Whether Plaintiff and Class Members are entitled to declaratory relief to

enforce the terms of the Selling Agreement.

       44.     Each Selling Agreement is substantially similar with respect to the entitlement of

the broker-dealer to specific trailing commissions for particular Annuities as set forth in the

applicable Commission Schedule in effect at the time Ohio National received the customer’s

premium payment. Indeed, when Ohio National announced its decision to terminate the

Annuities, it made no distinctions among different broker-dealers, which likewise suggests that

the Selling Agreements are substantially similar for purposes of the questions at issue in this

lawsuit.

       45.     Common sources of evidence may be used to demonstrate Ohio National’s

unlawful conduct on a class-wide basis, including, but not limited to, documents and testimony

about its decision to terminate the Selling Agreement and the payment of trailing commissions;

documents and testimony relating to its decision to continue to pay those trailing commissions

only to its own employees and/or agents and to broker-dealer Morgan Stanley, and documents

and testimony demonstrating the amount of damages suffered by Plaintiff and Class Members.

       46.     Plaintiff’s claims are typical of the claims of the Class he seeks to represent, in

that the named Plaintiff and all Members of the proposed Class have suffered similar injuries as a

result of the same practices alleged herein. Plaintiff has no interests adverse to the interests of

the other Class Members.

       47.     Plaintiff will fairly and adequately protect the interests of the Class, and has

retained attorneys well experienced in class actions and complex litigation as their counsel,

including cases in the financial services field.

       48.     The Class also satisfies the criteria for certification under Federal Civil Rules

23(b) and 23(c). Among other things, Plaintiff avers that Ohio National has acted or refused to

act on grounds that apply generally to the proposed class, thereby making final injunctive relief



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or declaratory relief described herein appropriate with respect to the proposed class as a whole;

that questions of law or fact common to the Class predominate over any questions affecting only

individual members, and that class action treatment is superior to other available methods for the

fair and efficient adjudication of the controversy which is the subject of this action. Plaintiff also

avers that certification of one or more subclasses or issues may be appropriate for certification

under Federal Civil Rule 23(c). Plaintiff further states that the interests of judicial economy will

be served by concentrating litigation concerning these claims in this Court, and that the

management of the Class will not be difficult.

         49.   Plaintiff and other Class Members have suffered injury, harm, and damages as a

result of Ohio National’s unlawful and wrongful conduct. Absent a class action, Ohio National

will deprive Plaintiff and Class Members of compensation to which they are entitled. Absent a

class action, Ohio National will be allowed to continue such conduct with impunity and benefit

from its unlawful conduct.

VI.      CAUSES OF ACTION


                                  FIRST CAUSE OF ACTION
                                      Breach of Contract
         50.   Plaintiff realleges each and every allegation contained above, and incorporates by

reference all other paragraphs of this Complaint as if fully set forth herein. Plaintiff brings this

claim on behalf of the Class set forth above.

         51.   Ohio National has a contractual relationship with broker-dealers via the Selling

Agreement, under which Ohio National is obligated to pay trailing commissions on active

Annuities.

         52.   Pursuant to those Selling Agreement, some portion of those commissions will

pass through to securities representatives such as Plaintiff and Class Members. As such, Plaintiff

and Class Members are third-party beneficiaries of the Selling Agreement on active Annuities.




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       53.     In its September 28, 2018 letter, Ohio National announced that as of December

12, 2018, it will no longer pay trailing commissions on active Annuities. In so doing, it has

breached the Selling Agreement.

       54.     To the extent that Ohio National’s actions constitute an anticipatory, rather than a

present breach, under Ohio law, upon an anticipatory breach, the injured party may terminate the

contract and sue the breaching party prior to the time that the breaching party has announced it

will no longer perform. Plaintiff and Class Members, as third party beneficiaries, hereby

exercise that right and bring this claim at this time.

       55.     Plaintiff and Class Members have been and will be damaged by Ohio National’s

conduct, in that they will not receive pass-through trailing commissions to which they are

entitled flowing from the Selling Agreement and the related Schedules of Commissions.

       56.     Plaintiff and Class Members seek specific performance of the Selling Agreement

and the related Schedules of Commissions, which obligate Ohio National to pay trailing

commissions on Annuities as long as those Annuities are active.

       57.     In the alternative, Plaintiff and Class Members seek monetary damage stemming

from Ohio National’s breach of the Selling Agreement and their related Schedules of

Commissions.


                                 SECOND CAUSE OF ACTION
                                     Unjust Enrichment
       58.     Plaintiff realleges each and every allegation contained above, and incorporates by

reference all other paragraphs of this Complaint as if fully set forth herein, with the exception of

the paragraphs above regarding breach of contract. This claim is brought in the alternative to the

breach of contract claim. Plaintiff brings this claim on behalf of the Class set forth above.

       59.     Ohio National received a benefit, in the form of proceeds stemming from the sale

of the Annuities. Some portion of those proceeds were to be passed back to Plaintiff and Class

Members in the form of trailing commissions.




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       60.     By announcing that it would cease paying trailing commissions on active

Annuities, Ohio National will and has retained the benefits of its unlawful conduct. Due to Ohio

National’s conduct alleged herein, it would be unjust and inequitable under the circumstances for

Ohio National to be permitted to retain the benefit of its wrongful conduct.

       61.     Plaintiff and the Class Members are entitled to restitution and/or damages from

Ohio National and/or an order of this Court proportionally disgorging all profits, benefits, and

other compensation obtained by Ohio National from its wrongful conduct. If necessary, the

establishment of a constructive trust from which the Plaintiff and Class Members may seek

restitution or compensation may be created.

       62.     Additionally, Plaintiff and the Class Members may not have an adequate remedy

at law against Ohio National, and accordingly plead this claim for unjust enrichment in the

alternative to other claims pleaded herein.


                                THIRD CAUSE OF ACTION
                         Tortious Interference with Business Relations
       63.     Plaintiff realleges each and every allegation contained above, and incorporates by

reference all other paragraphs of this Complaint as if fully set forth herein. Plaintiff brings this

claim on behalf of the Class set forth above.

       64.     Plaintiff and Class Members have a business relationship with their broker-

dealers, under which, inter alia, Plaintiff and Class Members would receive pass-through trailing

commissions stemming from active Annuities.

       65.     Ohio National was and is aware of the nature of this relationship, as the Selling

Agreement explicitly states that it would pay commissions to the broker-dealer, who would in

turn pass some portion of those commissions on to the securities representatives engaged in the

sale of the Annuities.

       66.     By announcing that it would not pay trailing commissions to the broker-dealers

pursuant to the Selling Agreement and the related Schedules of Commissions, Ohio National




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intentionally caused the pass-through arrangements between the broker-dealers and Plaintiff and

Class Members to be terminated.

       67.     As a result of its intentional action, Plaintiff and Class Members have suffered

damages in the form of lost pass-through commissions that they would otherwise receive

pursuant to the pass-through arrangements.


                                 FOURTH CAUSE OF ACTION
                                     Promissory Estoppel
       68.     Plaintiff realleges each and every allegation contained above, and incorporates by

reference all other paragraphs of this Complaint as if fully set forth herein, with the exception of

the paragraphs above regarding breach of contract. This claim is brought in the alternative to the

breach of contract claim. Plaintiff brings this claim on behalf of the Class set forth above.

       69.     Ohio National promised to make payments, including trailing commissions, to

broker-dealers, which would, in turn, be passed on in large part to securities representatives.

       70.     Ohio National reasonably expected that the promise of such payment would

induce action on the part of broker-dealers and securities representatives in the form of soliciting

sales of Ohio National annuities.

       71.     The promise of such payment did in fact induce action on the part of broker-

dealers and securities representatives.

       72.     Plaintiff and Class Members justifiably relied on the representation of Ohio

National that those commissions would be forthcoming

       73.     Injustice can only be avoided by enforcement of Ohio National’s promise to pay

all commissions, including trailing commissions.

                                    FIFTH CAUSE OF ACTION
                                        Declaratory Relief
                                         28 U.S.C. § 2201
       74.     Plaintiff realleges each and every allegation contained above, and incorporates by

reference all other paragraphs of this Complaint as if fully set forth herein. Plaintiff brings this

claim on behalf of the Class as set forth above.



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        75.     An actual controversy has arisen and now exists between Plaintiff and the putative

Class on the one hand, and Ohio National on the other, concerning Ohio National’s obligation to

pay trailing commissions pursuant to the Selling Agreement and the related Schedules of

Commissions. Ohio National has stated that it will no longer honor those agreements and pay

the commissions as set forth in the Schedules of Commissions.

        76.     Accordingly, Plaintiff and Class Members are entitled to seek a judicial

determination of whether Ohio National is obligated to pay trailing commissions for all active

Annuities.

        77.     A judicial determination of the rights and responsibilities of the parties with

regard to the Selling Agreement and the related Schedules of Commissions is necessary and

appropriate at this time so that: (1) the rights of the Plaintiff and the Class may be determined

with certainty for purposes of resolving this action; and (2) the Parties will have an

understanding of Ohio National’s obligations in the future given its continuing legal obligations

and ongoing relationships with Plaintiff and Class Members.

VII.    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff on his own and behalf of all others similarly situated, prays for

relief as follows:

        A.      For an Order certifying this case as a class action pursuant to Federal Civil

Rule 23, appointing Plaintiff as Class Representative, and the undersigned as Class Counsel;

        B.      Awarding monetary, punitive and actual damages and/or restitution, as

appropriate;

        C.      Awarding declaratory relief as permitted by law or equity to assure that the Class

has an effective remedy;

        D.      Prejudgment interest to the extent allowed by the law;

        E.      Awarding all costs, experts’ fees and attorneys’ fees, expenses and costs of

prosecuting this action; and

        F.      Such other and further relief as the Court may deem just and proper.



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VIII. JURY TRIAL DEMAND

       Plaintiff requests a trial by jury on behalf of himself and all similarly-situated persons

pursuant to Federal Rule of Civil Procedure 38.


                                                        Respectfully submitted,

 DATED: November 6,
 2018                                                   By: /s/ David P. Meyer
                                                                David P. Meyer

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                                                        Counsel for Plaintiff Lance Browning
                                                        and the Putative Class




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